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 4   Attorney for Defendant
     BRIAN PICKARD
 5

 6                               UNITED STATES DISTRICT COURT

 7                               EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                          No. 2:11-cr-00449-KJM-16

10                  Plaintiff,                          STIPULATION TO EXTEND TIME
                                                        FOR POSTING PROPERTY BOND
11          v.                                          TO MARCH 14, 2012

12   BRIAN PICKARD,                                     Court: Hon. Kendall J. Newman

13                  Defendant.
                                              /
14

15          IT IS HEREBY STIPULATED between the parties that the time for defendant BRIAN

16   PICKARD to post the property bond with this Court in order to secure his pretrial release shall

17   be extended to March 14, 2012.

18          IT IS SO STIPULATED.

19                                                        BENJAMIN B. WAGNER
                                                          United States Attorney
20

21   /S/ZENIA K. GILG                             By:     /S/SAMUEL WONG
     ZENIA K. GILG                                        SAMUEL WONG
22   Attorneys for Defendant                              Assistant U.S. Attorney
     BRIAN PICKARD                                        Dated: February 23, 2012
23   Dated: February 23, 2012

24                                                ORDER

25          IT IS SO ORDERED.

26          Dated: February 24, 2012

27                                                /s/ Kendall J. Newman
                                                  KENDALL J. NEWMAN
28                                                United States Magistrate Judge
